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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA       *
                                *
      v.                        *    CASE NO. GLS-19-63
                                *
 CHRISTOPHER PAUL HASSON,       *
                                *
          Defendant             *
                                *
                            ********
               MOTION FOR DETENTION PENDING TRIAL

        The defendant intends to murder innocent civilians on a scale rarely seen in this country.

He must be detained pending trial.

                                           Background

        On February 15, 2019, the defendant was arrested pursuant to a federal criminal complaint,

which charged him with violations of 18 U.S.C. § 922(g)(3) (possession of a firearm and

ammunition by an unlawful user or addict of controlled substances) and 21 U.S.C. § 844 (simple

possession of Tramadol, which is an opioid and a Schedule IV controlled substance). The current

charges, however, are the proverbial tip of the iceberg. The defendant is a domestic terrorist, bent

on committing acts dangerous to human life that are intended to affect governmental conduct.

        The Court held an initial appearance for the defendant on the date of his arrest. The

Government moved for detention under 18 U.S.C. § 3142, citing the defendant’s obvious danger

to the community. The Court set a detention hearing for 1:00 p.m. on February 21, 2019. To aid

the Court’s determination that the defendant must be detained, the Government files this

memorandum in order to show through clear and convincing evidence that no condition or

combination of conditions will reasonably assure the safety of any other person or the community

writ large.
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                                 The Defendant Must Be Detained

       The defendant is a Lieutenant in the United States Coast Guard, and currently assigned to

the United States Coast Guard Headquarters, Washington, D.C., as an Acquisitions Officer for the

National Security Cutter Acquisition Program. The defendant officially began this assignment on

June 7, 2016. In this capacity, the defendant has not received any tactical, weapons, or explosives

related training. However, from approximately 1988 to 1993, the defendant served in the United

States Marine Corps, and thereafter spent approximately two years on active duty in the Army

National Guard.

       Extremist Views

       The defendant has espoused extremist views for years. In a draft email dated June 2, 2017,

located in the defendant’s “Deletions” subfolder under the “Recoverable Items” folder, the

defendant wrote the following:

               Dear friends , maybe that’s a bit of a misnomer. Acquaintances more
               likely. Hope this finds you well. I am dreaming of a way to kill
               almost every last person on the earth. I think a plague would be most
               successful but how do I acquire the needed/ Spanish flu, botulism,
               anthrax not sure yet but will find something.

               Interesting idea the other day. Start with biological attacks followed
               by attack on food supply. . . Have to research this. Two pronged
               attack seems it might be more successful. Institute a bombing/sniper
               campaign.

               What can I do, I will not do nothing...It seems inevitable that we are
               doomed. I don’t think I can cause complete destruction on my own,
               However if I could enlist the unwitting help of another
               power/country would be best. Who and how to provoke???

               New idea this weekend, R/E orthodox as a way for influence.?.

               Things to do in the next 4 years. Get out of debt!!!!
                              Buy van to convert, diesel.
                              Buy land for family out west or possibly NC mtns.
                              I don’t know...


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    Liberalist/globalist ideology is destroying traditional peoples esp
    white. No way to counteract without violence. It should push for
    more crack down bringing more people to our side. Much blood will
    have to be spilled to get whitey off the couch. For some no amount
    of blood will be enough. They will die as will the traitors who
    actively work toward our demise. Looking to Russia with hopeful
    eyes or any land that despises the west’s liberalism. Excluding of
    course the muslim scum. Who rightfully despise the west’s liberal
    degeneracy. . .

    Need to come off TDL [Tramadol], clear my head. Read and get
    education have to move to friendly area and start to organize. Get
    leadership within the community, sheriff, city manager, mayor,
    lawyer? Not sure but start now. Be ready.

    Stockpile 5 locations. Pack, food, GN, supporos ao, clothing, gear.
    Comb/exp for defense. Extras mortar recoilless, learn basic
    chemistry, start small.

    By land put 3 homes and multiple hides. Have way to get out and
    start hitting back. Use lines of drift [writing by Eric Rudolph].

    Have to take serious look at appropriate individual targets, to bring
    greatest impact. Professors, DR’s, Politian’s, Judges, leftists in
    general.

    Look up tactics used during Ukrainian civil war. During unrest
    target both sides to increase tension. In other words provoke
    gov/police to over react which should help to escalate violence.
    BLM protests or other left crap would be ideal to incite to violence.

    Gun rights people will never rise, need religious to stand up. Please
    send me your violence that I may unleash it onto their heads. Guide
    my hate to make a lasting impression on this world. So be it. I don’t
    know if there truly is a “conspiracy” of ((((People)))) out to destroy
    me and mine, but there is an attack none the less. For that reason I
    will strike, I can’t just strike to wound I must find a way to deliver
    a blow that cannot be shaken off. Maybe many blows that will cause
    the needed turmoil.

    Food/fuel may be the key, if I can disrupt two or three weeks. When
    (people) start to loot steal protest dress as cop and shoot them. Burn
    down Apt complex, bar the doors first. Thermite on gas station tank.




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               v/r,
               LT Christopher P. Hasson
               National Security Cutter Acquisition

       Months later, in September 2017, the defendant sent himself a draft letter, which he

apparently wrote to a known American neo-Nazi leader. In the letter, the defendant identified

himself as a White Nationalist for over 30 years and advocated for “focused violence” in order to

establish a white homeland. The defendant sent himself this letter roughly seven weeks after the

Charlottesville neoNazi rally. In the letter, the defendant writes:

               I am writing you regards to your ideas behind North West migration.
               To date I have read most of your books and briefly looked at your
               website. I am a long time White Nationalist, having been a skinhead
               30 plus years ago before my time in the military. I have served in 3
               branches currently serving as an Officer (never attended college)
               with 2 years till I hit mandatory retirement at 30. . . While I fully
               support the idea of a white homeland, my friends who still play at
               being a skinhead at 40 plus years old say that you are an informant.
               That is neither here nor there it is not an accusation the person who
               told me this served a 12 year prison sentence and never ratted me
               out so I will not dispute him nor will I accuse you. I never saw a
               reason for mass protest or wearing uniforms marching around
               provoking people with swastikas etc. I was and am a man of action
               you cannot change minds protesting like that. However you can
               make change with a little focused violence. . . The government has
               expertly infiltrated and destroyed from within most if not all Pro
               White organizations. . . . We need a white homeland as Europe
               seems lost. How long we can hold out there and prevent
               niggerization of the Northwest until whites wake up on their own or
               are forcibly made to make a decision whether to roll over and die or
               to stand up remains to be seen. But I know a few younger ones that
               are tired of waiting and I feel we need them to resettle and build a
               community before they throw their life away with some desperate
               measure like shooting up a mosque in an area that doesn’t want us.
               They need a Homeland to fight for as America has turned its back
               on them. I know more than a few that went this path and it’s a
               fucking waste.

       In addition, from January 2017 to January 2019, the defendant conducted online searches

and make thousands of visits for pro-Russian, neo-fascist, and neo-Nazi literature.



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       Background Information Regarding Anders Breivik

       By way of background, on July 22, 2011, Norwegian citizen Anders Behring Breivik, a

far-right domestic terrorist, committed two coordinated terror attacks in Norway leading to the

death of 77 Norwegian citizens. Prior to the attacks, Breivik spent some three years producing a

detailed manifesto wherein he embraced the ideology of “Crusader Nationalism,” which he

imagined would counteract what he termed the “islamization” of Europe. Breivik believed

immigration of Muslim individuals was a threat to European countries, and he believed this wave

of immigration was being facilitated by Cultural Marxism and political correctness. Breivik

posited that unbridled Muslim immigration would bring the collapse of Western culture and

European Civil War. Therefore, in order to curtail Muslim immigration, Breivik advocated for

violent action that would serve as a catalyst for the downfall of Cultural Marxist governments.

The suggested targets for violent action were influential “Cultural Marxist” politicians, media

personalities, professors, writers/artists, non-governmental leaders, and globalist investors.

Breivik advocated for focusing on individuals who did not have armed guards. Breivik believed

the manifesto would provide future “European Patriots” with “the tools required to win the

ongoing Western Cultural Western European cultural war.” The manifesto provides an incredibly

detailed account of Breivik’s planning and preparation prior to the attacks and was intended to

serve as a blueprint for future single cell or “Lone Wolf” terrorist operations.

       The Defendant’s Firearms, Other Weapons, and Tactics

       From early 2017 through the date of his arrest, the defendant routinely perused portions of

the Breivik manifesto that instruct a prospective assailant to amass appropriate firearms, food,

disguises, and survival supplies. Consistent with the Breivik manifesto, the defendant performed

thousands of visits to websites selling firearms and tactical gear. The defendant also researched



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United States military technical manuals on improvised munitions and tactical handbooks.

       The defendant also acquired firearms, firearms equipment, and ammunition. For example,

in October 2017, the defendant purchased a Springfield 1911 45ACP pistol from a business in

Virginia. More than 16 months later, in February 2019, when law enforcement agents executed a

federal search warrant at the defendant’s residence, agents found the following fifteen firearms

and, conservatively, over 1,000 rounds of mixed ammunition:




       The defendant’s residence, in which all of these items were found, was a cramped basement

apartment in Silver Spring, Maryland. Law enforcement’s discovery of the above items, as well

as other items of evidentiary value, is unsurprising, given the previously-known information

shown in records from interstate shipping companies and financial institutions. Those records

show a pattern of purchases of firearm equipment over the last two years:

                a. On February 13, 2017, a $159.77 purchase from a California seller of firearms

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        equipment such as stocks and magazines.

     b. On February 20, 2017, a $49.96 purchase from a North Carolina seller of

        firearms and ammunition.

     c. Also on February 20, 2017, a $571.16 purchase from a Virginia seller of a

        firearms, firearm equipment, and ammunition.

     d. On March 6, 2017, another $293.59 purchase from a Virginia seller of

        firearms, firearm equipment, and ammunition.

     e. On March 13, 2017, a $25.94 purchase from a California seller of firearm

        equipment for an AR-15 Quad Rail Handguard – Carbine Length.

     f. On July 11, 2017, a $249.95 purchase for a tactical vest.

     g. On July 12, 2017, a $337.49 purchase for a tactical plate carrier and other

        items.

     h. On July 17, 2017, a $69.95 purchase from a Missouri seller of firearm

        equipment, for a holster for a Glock pistol.

     i. Also on July 17, 2017, a $129.99 purchase from a Pennsylvania vendor for

        body armor.

     j. On July 31, 2017, a $93.84 purchase for a hydration bottle pouch, a tactical

        modular plate carrier, three smoke grenades, and a pouch.

     k. On July 31, 2017, a $118.57 purchase for five boxes of .223 ammunition (20

        rounds each) and four boxes of .22LR ammunition (50 rounds each).

     l. On August 8, 2017, a $31.15 purchase for a segmented vertical forend grip.

     m. On October 13, 2017, a $130.17 purchase from a Missouri vendor for a Sig

        Sauer 1911 accessory kit.



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         n. On October 17, 2017, a $151.40 purchase for two ten round combat power

             magazines for a 1911 firearm, as well as two ten round railed power

             magazines.

         o. On October 19, 2017, a $191.42 purchase for a 1911 auto deluxe completion

             kit, an “omab off. Model blue arched mag. Guide,” a mainspring housing tool,

             and a “1911 mainspring housing rfll kit, blued.”

         p. On November 15, 2017, a $149.93 purchase of a 12 gauge 18-inch barrel, as

             well as another item.

         q. On December 4, 2017, another $185.89 purchase of a .308 bolt assembly and

             an ACS-L stock.

         r. On December 13, 2017, another $117.93 purchase of a “Charging Handle 762

             Mod 3 (Large)” and a “Mini Bore Sighter: 22-50 Caliberl,” both of which are

             firearm equipment.

         s. On February 13, 2018, a $160 purchase for a “Gen II Little Bastard Brake

             (.308 / 30 cal, 5/8 x 24, Black Nitride Finish),” which is a type of firearm

             equipment that assists in suppressing recoil and redirecting propellant.

         t. On April 7, 2018, a $319.90 purchase from a Florida seller of firearm parts,

             including “80% lower receivers.”

         u. On April 8, 2018, a $242.82 purchase from a Florida seller of firearms and

             firearm equipment, for a bolt spring, a “One-Piece Bolt Carrier Group – NiB,”

             and an AR15 Field Repair Kit.

Targeting Potential Victims

As described below, consistent with the directions in the Breivik manifesto, the defendant



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began the process of targeting specific victims, including current and former elected officials. On

January 3, 2019, the defendant performed a search within the Breivik manifesto for “category A.”

Page 930 of Breivik’s manifesto classifies traitors as category A, B, or C with the following

explanation: “This classification system is used to identify various individual cultural

Marxist/multiculturalist traitors. The intention of the system is to easier identify priority targets

and will also serve as the foundation for the future ‘Nuremberg trials’ once the European cultural

conservatives reassert political and military control of any given country. Any category A, B or

C traitor is an individual who has deliberately used his or her influence in a way which makes him

or her indirectly or directly guilty of the charges specified in this document: 1-8. Many of these

individuals will attempt to claim ‘ignorance’ of the crimes they are accused of.”

       Breivik prioritizes “Category A” traitors as the most influential and highest profile traitors,

which includes political leaders, media leaders, cultural leaders, and industry leaders at a ratio of

ten per one million citizens. Page 921 of Breivik’s manifesto encourages would be assailants to

concentrate on massive and compact buildings with high concentration of Category A and B

traitors that are vulnerable to a “single source” blast or assault during Phase 1 of their attack. On

page 835 and 836, Breivik lists his “7 deadly mistakes to be avoided,” the third mistake being “to

select an overwhelmingly protected individual as a target for assassination. 12 failed attempts on

an extremely well protected individual could have alternatively been 12 successful attacks on

lesser targets executing more than 50 primary targets. Targets should be influential media

personalities – multiculturalist politicians, journalists/editors, cultural marxist professors,

Marxist writers/artists, NGO leaders, global investors. Obviously, focus on individuals who do not

have armed body guards.”

       Review of the defendant’s activity since January 2017 revealed targeting indicators



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consistent with Breivik’s instructions.   For example, on February 26, 2018, the defendant

performed the following internet searches: “most liberal senators”; “where do most senators live

in dc”; “do senators have ss [secret service] protection”; and “are supreme court justices

protected.” In addition, on December 27, 2018, the defendant performed an internet search for

“joe Scarborough” (“Scarborough”), after viewing a headline claiming that Scarborough referred

to the President as “the worst ever.” (Scarborough is the host of a popular morning television

show on MSNBC and previously served as a United States Congressman representing a district in

Florida.) The defendant spent the next approximately five minutes reviewing Scarborough’s

Wikipedia page and personal website before performing a Google search for “where is morning

joe filmed.” After further searches, the defendant found Scarborough’s prior home, and then

proceeded to scroll in and out on the location for approximately 35 seconds.

       On January 17, 2019, consistent with the types of people who Breivik identifies as

“traitors” and targets for an attack, the defendant compiled a list of prominent Democratic

Congressional leaders, activists, political organizations, and MSNBC and CNN media

personalities, as shown below:




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       Those individuals included “JOEY” (who most likely is Joe Scarborough of MSNBC,

based on the searches described above); “Chris hayes” (who presumably is Chris Hayes from

MSNBC); “Sen blumen jew” (who presumably is U.S. Senator Richard Blumenthal (D-CT));

“pelosi” (who presumably is House Speaker Nancy Pelosi (D-CA)); “sen kaine” (who presumably

is U.S. Senator Tim Kaine (D-VA)); “ari melber” (who presumably is Ari Melber from MSNBC);

“shumer” (who presumably is U.S. Senator Chuck Schumer (D-NY)); “don lemon” (who

presumably is Don Lemon from CNN); “gillibran” (who presumably is U.S. Senator Kirsten

Gillibrand (D-NY)); “poca warren” (who presumably is U.S. Senator Elizabeth Warren (D-MA));

“cortez” (who presumably is U.S. Representative Alexandria Ocasio-Cortez (D-NY)); “booker”

(who presumably is U.S. Senator Cory Booker (D-NJ)); “harris” (who presumably is U.S. Senator

Kamala Harris (D-CA)); “beto orourke” (who presumably is former U.S. Representative Beto

O’Rourke (D-TX)); “maxine waters” (who presumably is U.S. Representative Maxine Waters (D-

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CA)); “sheila jackson” (who presumably is U.S. Representative Sheila Jackson (D-TX)); “iihan

omar” (who presumably is U.S. Representative Ilhan Omar (D-MN)); “chris cuomo” (who

presumably is Chris Cuomo from CNN); “DSA” (which presumably is the political organization

Democratic Socialists of America); “van jones” (who presumably is Van Jones from CNN); and

“podesta” (who presumably is former Hillary Clinton campaign chairman John Podesta). The

defendant developed this list in the above spreadsheet while reviewing the MSNBC, CNN, and

FOX News websites, as well as other websites, from his work computer.

       The same day, January 17, 2019, the defendant performed the following Google searches

at the following approximate times:

                 v. 8:54 a.m.: “what if trump illegally impeached”

                 w. 8:57 a.m.: “best place in dc to see congress people”

                 x. 8:58 a.m.: “where in dc to congress live”

                 y. 10:39 a.m.: “civil war if trump impeached”

                 z. 11:26 a.m.: “social democrats usa”

       Steroids/Human Growth Hormone

       As described below, consistent with the directions in the Breivik manifesto, the defendant

appears stockpiled the resources necessary to being the process of taking narcotics in order to

increase his ability to conduct attacks.

       On January 3, 2019, the defendant performed a search within the Breivik manifesto for

“steroids.” The search resulted in the defendant reading page 1464 and the diary entry by Breivik

for Day 63 which states: “Noticing that the testo withdrawal is contributing to increased

aggressiveness. As I’m now continuing with 50mg it will most likely pass. I wish it be possible to

somehow manipulate this effect to my advantage later on when it is needed. Because the state



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seems to very efficiently suppress fear. I wonder if it is possible to acquire specialized

‘aggressiveness’ pills on the market. It would probably be extremely useful in select military

operations, especially when combined with steroids and ECA stack...! It would turn you into a

superhuman one-man-army for 2 hours!” On page 938 of the Breivik manifesto, Breivik writes

that an assailant should begin a six-week steroid cycle once all the equipment and components for

their operation has been acquired and the preparation phase begins.

       When agents searched the defendant’s residence, they found a locked container, inside of

which were over thirty bottles labeled as HGH:




       Tramadol Purchases

       Since at least October 2016, the defendant has purchased Tramadol from an individual

likely located in Mexico, though the final shipments appear to be sent from locations in California

to addresses designated by the defendant (all but one of which was the defendant’s homes in

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Maryland and North Carolina). The defendant placed orders by sending emails to his supplier,

specifically requesting that quantities of Tramadol (an opioid and a Schedule IV controlled

substance) be shipped for overnight delivery. Those purchases are summarized below:




       In total, the defendant appears to have ordered at least 4,200 Tramadol 100mg pills. When

law enforcement agents searched the defendant’s workspace on February 15, 2019, they

discovered at least 100 pills that appear to be Tramadol. Agents also discovered suspected

Tramadol in a bag the defendant carried at the time of his arrest.

       Other evidence suggests that the defendant is a chronic user of Tramadol. According to

financial records, the defendant made two purchases from a particular vendor on July 24, 2018,

and August 2, 2018. The July 2018 purchase was for “Synthetic Urine,” “Golden Flask Synthetic

Urine,” and “The Clean Kit;” and the August 2018 purchase was for “Golden Flask Synthetic

Urine” and “The Clean Kit.” A search of the vendor’s website shows that a Golden Flask is a flask

filled with four ounces of synthetic urine, as well as a heating pad, presumably to bring the


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synthetic urine up to body temperature. On the website, The Clean Kit is described as follows:

“The Clean Kit is the first empty refillable kit from ALS. This kit comes with everything you need

to discreetly [sic] hide any type of fluids. It comes with an empty vinyl medical grade bag attached

to a cotton elastic belt. It has an easy to read temperature strip, a refill port and a hose with two

clips attached. You will also receive a medical grade syringe, 2 organic heat pads and a set of

instructions. You can choose to put any type of fluid in the bag, just be sure to clean it out after

every use.”

       When law enforcement agents searched the defendant’s workspace on February 15, 2019,

agents found many of the items described above. The defendant appears to have been maintaining

these items in the event he was randomly selected for a drug screening, which occasionally

happened incident to his profession.

                                            Conclusion

       The Government respectfully submits that the defendant must be detained pending trial.



                                              Respectfully submitted,

                                              Robert K. Hur
                                              United States Attorney


                                              /s/
                                              Thomas P. Windom
                                              Assistant United States Attorney




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